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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                         CASE NO. 21-62084-CIV-DIMITROULEAS

 HOWARD MICHAEL CAPLAN,

         Plaintiff,

 vs.

 PINNACLE AUTO REPAIR LLC
 STOETRUST INVESTORS, INC.,

       Defendant.
 ____________________________________/

       ORDER REQUIRING CERTIFICATE OF COUNSEL REGARDING ANY PRIOR
            FILINGS UNDER THE AMERICANS WITH DISABILITIES ACT

         On October 6, 2021, Plaintiff filed a Complaint alleging violations by Defendants of the

 American with Disabilities Act (“ADA”), 42 U.S.C. '' 12181 et seq. The Court deems it

 advisable to require of Plaintiff’s counsel a verified statement reflecting:

         1. Whether or not counsel has conducted a search of case filings in the records of the

 Clerk of the United States District Court for the Southern District of Florida to ascertain whether

 or not Defendants or their property have ever been sued prior to the filing of this suit, for alleged

 violations for the same, similar, or any, alleged violations of ADA. (If such a search was not

 made prior to filing suit, counsel should conduct such an examination of the records in order to

 be able to answer this question.)

         2. If there has been a prior suit of the nature referred to in Paragraph 1 above, counsel

 should state the present status of that litigation (if pending) and, if not pending, the details of the

 disposition (i.e., settlement, dismissal, other).

         3. If there was such litigation and it was disposed of by settlement, counsel is required to



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 furnish, in response to this Order, specific details of the settlement, including any agreement for

 attorney=s fees, costs and expenses, either known to him or ascertainable by him with reasonable

 inquiry. Copies of these documents should be furnished in the response that counsel will file to

 this inquiry.

         4. If there has been a prior filing, counsel shall state whether or not Defendant (and/or

 property owned by Defendant and the subject-matter of this suit) have complied with any

 settlement in the prior litigation (or not) and if not, what remains to be done under the prior

 litigation.

         5. Counsel shall also state what efforts were made by the plaintiff and Defendant to

 enforce the terms of any settlement in any prior litigation. Namely, did the property owner make

 the necessary repairs to the property to bring it in compliance with the ADA, and if not, what

 efforts the plaintiff in the prior litigation made to seek enforcement of the settlement of that

 litigation (be it order of contempt or otherwise).

         Accordingly, it is ORDERED AND ADJUDGED that Plaintiff’s counsel shall file with

 the Clerk of the Court the verified statement responding to the questions promulgated above on

 or before October 13, 2021.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

 this 8th day of October, 2021.




 Copies to:
 Counsel of Record



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